ES First Data.

IMPROVEMENT ACTION PLAN

 

 

 

 

Employee: besarmasren Department: RSAG
Job Title: Account Executive Supervisor: Jared Kirkpatrick
Employee 1D: Date: 10/4/2012 _

i; Summary of improvement needed

As you are aware, the minimum quota each Account Executive must achieve is 10 contract approvals
(locations) per month, a sales volume of $2,400,000 per month, a year to date total revenue percentage
of 80% - 100%, and various lease, equipment, and BLT penetration percentages.

Over the fast two months you have not achieved this minimum quota. Specifically, during the last two
months, your sales production was as follows:

 

 

Month Approved Accounts Approved Volume YTD Total Revenue
duly 20142 4 $24,000 18%

August 2012 7 $2,950,000 198%
September 2012 3 $1,130,000 TBD%

 

 

The problem areas are outlined below as well as what you must do to improve. You are being placed on
an Improvement Action Plan for 90 days, October 4, 2012 - January 4, 2013.

IL Detail of issue(s
Issue #1: Inadequate prospecting and appointment generation.

Goal or Expectation: Generate and record in SFDC three quality opportunities daily with follow
up tasks.

Action Plan:

1. Complete 30 cold calls daily to schedule 3 leads.

2. Visit 3 clients daily to generate 1 Mi2M referral.

3. Compete the daily referral and cold call log and submit every day.

issue #2: Not meeting Company Sales Objectives of 10 approved locations, 2.7 Million approved
volume, and $3,300 in Net Equipment Revenue

Goal or Expectation: 10 approved accounts, 2.7 million approved Volume, and $3,300 net
equipment revenue monthly is expected.

Action Plan:
4, Complete daily pipeline/lead specialist report (separate document) listing the 30

businesses you visited each day emailed by 7:00 pm each day.
2. Generate 3 new appointments/opportunities a day

EXHIBIT

19

 

First Data 000460

 

 

 
IH. Follow-up/ IAP Policies

We will meet on a weekly basis to discuss your progress, These meetings are a shared responsibility. If
you are unable to make a scheduled meeting time, it is your responsibility to reschedule.
You need to come to our meetings prepared to:

® Show the results of your wark
Explain what you did to accomplish the goals in order to help replicate success in the future
if any goal was not met, you need to explain why it was not completed
Discuss further opportunities for improvement

Ask questions and discuss any additional guidance or support required for you fo
successfully complete the action items

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This Improvement Action Plan will remain in effect for 90 days. This document and your progress will be
reviewed periodically during this time period. If at any time during this period you have failed to meet the
above objectives, your employment may be terminated. If you consistently meet the above objectives for
the entire length of the plan, this Improvement Action Plan will be discontinued. In addition, you must
sustain improved performance in the future. Failure to meet and sustain the objectives of this plan, or
other performance issues occurring at any time during or after this plan, will result in further corrective
action, up to and including the immediate termination of your employment. During and after this plan,
your employment remains at will and either you or the company can terminate your employment
for any reason,

Any employee on a current Improvement Action Plan (IAP) may not be eligible for a merit increase.
Additionally, you cannot post for other positions or be promoted during the term of your plan.

Statement of Understanding:

| understand that my signature is acknowledgement that | have discussed this document with my
manager. | have read and understand the document and realize that | have placed my position in
jeopardy. | realize the course of action that will be taken if | am unable to successfully meet these
expectations. | have been given a copy for my records. A facsimile, photocopy or PDF signature will
have the same force and effect as the original.

 

 

 

 

Employee Signature: Date:
Manager's Signature: Date:
Human Resources: Date:

 

 

First Data 000461

 

 

 
First Data.

IMPROVEMENT ACTION PLAN

 

 

Employee: | | Department: RSAG
Job Title: Account Executive (Associate Quota) Supervisor: Jared Kirkpatrick
Employee 1D: aa Date: 10/4/2012

 

 

 

i; Summary of Improvement needed

As you are aware, the minimum quota each Account Executive must achieve is 6 contract approvals
(locations) per month, a sales volume of $1,400,000 per month, a year to date total revenue percentage
of 80% ~ 100%, and various lease, equipment, and Payment Essentials penetration percentages.

Over the fast three months you have not achleved this minimum quota. Specifically, during the last three
months, your sales production was as follows:

 

 

Month Approved Accounts Approved Volume YTD Total Revenue
July 2012 3 $210,000 NH Quota
August 2012 5 $302,000 36%
September 2012 4 $170,000 TBD%

 

 

The problem areas are outlined below as well as what you must do to improve. You are being placed on
an Improvement Action Plan for 90 days, October 4, 2012 ~ January 4, 2043.

Il. Detail of Issue(s

issue #1: Inadequate prospecting and appointment generation.

 

Goal or Expectation: Generate and record In SFDC two quailty opportunittes dally with follow
up tasks.

Action Plan:
1. Complete 30 cold calls daily to schedule 3 leads.

2. Every day complete and submit the cold calf and merchant referral report.

issue #2: Not meeting Company Sales Objectives of 6 approved locations, 1.4 Million approved
volume, and $1,700 in Net Equipment Revenue

Goal or Expectation: 6 approved accounts, 1.4 million approved Volume, and $1,700 net
equipment revenue monthly ts expected.

Action Plan:

4. Complete daily pipeline/iead specialist report (separate document) listing the 3
businesses you visited each day emailed by 7:00 pm each day.

2. Generate 3 new appointments/opportunittes a day ,

First Data 00469

 

 
Issue #3: Not completing AE Boot Camp on Schedule.

 

Goal or Expectation: 100% completion of all assignments with a 90% or better score.
Action Plan:

1. Complete ail AE Boot Camp assignments in the week assigned.

2. If an assignment cannot be completed on time due to technical Issues emall Shannon
Troccoll promptly and CC me. You are still expected to complete all assignments.

3. Fallure to complete these assignments will lead to your suspension from Sales Academy.

Ul. _Follow-up/ IAP Policies

We will meet on a weekly basis to discuss your progress, These meetings are a shared responsibility. If
you are unable to make a scheduled meeting time, it Is your responsiblity to reschedule.

‘You need fo come to cur meetings prepared to:
© Show the results of your work
Explain what you did to accomplish the goals in order to help replicate success in the future
If any goal was not met, you need to explain why It was not completed
Discuss further opportunities for improvement

Ask questions and discuss any additional guldance or support required for you to
successfully complete the action items

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other performance issues occurring at any time during or after this plan, will result in further corrective
action, up to and including the immediate termination of your employment. During and after this plan,
your employment remains at will and elther you or the company can terminate your amployment
for any reason.

Any employee on a current improvement Actlon Plan (IAP) may not be eligible for a merit Increase,
Additionally, you cannot post for other positions or be promoted during the term of your plan.

Statement of Understanding:

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manager. | have read and understand the document and realize that | have placed my position In
Jeopardy. | realize the course of action that will be taken If | am unable to successfully meet these
expectations. | have been given a copy for my records. A facsimile, photocopy or PDF signature will

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Employee Signature: Date:
Manager's Signature: Date:
Human Resources: Date:

 

 

First Data 00470

 

 

 
First Data.

IMPROVEMENT ACTION PLAN

 

 

 

Employee: Department: RSAG

Job Title: Ac cutlva Supervisor: Jared Kirkpatrick
Employee ID: Date: 11/12/2012

lk. Summary of Improvement needed

 

As you are aware, the minimum quota each Account Executive must achieve Is 10 contract approvals
(locations) per month, a sales volume of $2,400,000 per month, a year to date total revenue percentage
of 80% - 100%, and various lease, equipment, and Payment Essentials penetration percentages.

Over the last three months you have not achieved this minimum quota, Specifically, during the last three
months, your sales production was as follows:

 

 

Vionth Approved Accounts Approved Volume YTD Total Revenue
August 2012 3 $206,000 79%
September 2012 3 $422,000 70%
October 2012 1 $81,000 TBD%

 

 

 

The problem areas are outlined below as well as what you must do to Improve. You are being placed on
an Improvement Action Plan for 90 days, November 13, 2012 ~ February 13, 2013.

ll, Detail of Issue(s
Issue #41: Inadequate prospecting and appointment genoration.

Goal or Expectation: Generate and record In SFDC three quality opportunities daily with follow
up tasks.

Action Plan:

1, Complete 30 cold calls dally to schedule 3 leads.

2, Complete the attached merchant prospecting Iist dally.

3, Continue attending weekly scheduled One on Ones to discuss your progress.

issue #2: Not meeting Company Sales Objectives of 10 approved locations, 2.7 Million approved
volume, and $3,300 In Net Equipment Revenue

Goal or Expectation: 10 approved accounts, 2,7 million approved Volume, and $3,300 net
equipment revenue monthly Is expected.

Action Plan:

4. Complete daily pipeline/lead specialist report (separate document) listing the 30
businesses you visited each day emallad by 7:00 pm each day.

2. Generate 3 new appointments/opportunities a day

First Data 00472

 

 
ill, Follow-up/ IAP Policies

We will meet on a weekly basis to discuss your progress. These meetings are a shared responsibility, If
you are unable to make a scheduled meeting time, it is your responsibility to reschedule.
You need to come to our meetings prepared to:

Show the results of your work

Explain what you did to accomplish the goals In order to help replicate success In the future

@ If any goal was not met, you need to explain why it was not completed
© Discuss further opportunities for improvement
e

Ask questions and discuss any addltfonal guidance or support required for you to
successfully complete the action Items

This Improvement Action Plan will remain in effect for 90 days. This document and your progress will be
reviewed periodically during this time period. If at any time during this period you have failed to meet the
above objectives, your employment may be terminated. if you consistently meet the above objectives for
the entire length of the plan, this Improvement Action Plan will be discontinued. In addition, you must
sustain improved performance In the future. Failure to meet and sustain the objectives of this plan, or
other performance issues occurring at any time during or after this plan, will result in further corrective
actlon, up to and including the Immediate termination of your employment. During and after this plan,
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manager, | have read and understand the document and realize that | have placed my position in
Jeopardy. | realize the course of action that will be taken if | am unable to successfully meet these
expectations, | have been given a copy for my records. A facsimile, photocopy or PDF signature will

have the same force and effect as the original.

 

 

 

 

Employee Signature: Date:
Manager's Signature: Date:
Human Resources: Date:

 

First Data 00473

 

 
